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                                                           February 8, 2023

  VIA ECF:
  Hon. Gary R. Brown
  United States District Judge
  United States District Court
  Eastern District of New York
  100 Federal Plaza
  Central Islip, New York 11722

          RE:     Dawn Corrigan, et al. v. Town of Brookhaven, et al.
                  Docket No. 22-cv-04688 (GRB)(ARL)

  Dear Judge Brown:

         This firm represents Defendants Town of Brookhaven, Theresa Trejo, Ed
  Romaine and Neil Foley (collectively, the “Defendants”). Plaintiffs Dawn Corrigan,
  Caitlin Corrigan and Amber Corrigan are represented by Aaron C. DePass, Esq.

        I write, with the consent of Mr. DePass, to respectfully request the February
  24, 2023 2:00 pm pre-motion conference be adjourned to any day of the week of
  February 27, 2023, or a date thereafter convenient for the Court.

         The reason for the adjournment request is that on February 24, 2023, I will be
  out of the state on vacation.

          I thank the Court for its attention to this matter.



                                                           Respectfully submitted,


                                                           ALEXANDER E. SENDROWITZ


  Cc:     All Counsel, via ECF


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